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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

CYNTHIA M. LOPEZ,                                  §
             Plaintiff,                            §
                                                   §
vs.                                                §      Case No. SA-21-CV-00744-FB
                                                   §
CRESCENT BANK AND TRUST,                           §
EQUIFAX INFORMATION SERVICES,                      §
LLC,
           Defendants.


                                     SCHEDULING ORDER

        Before the Court is the above-styled and numbered cause of action, which was referred to

the undersigned for all pretrial proceedings on October 5, 2021 [#18]. On November 10, 2021,

the parties appeared, through counsel, at an initial pretrial conference, and the Court reviewed

the parties’ scheduling recommendations [#21]. Accordingly, pursuant to Rule 16 of the Federal

Rules of Civil Procedure, the following Scheduling Order is issued to control the course of this

case:

1. The parties asserting claims for relief shall submit a written offer of settlement to opposing
   parties on or before December 9, 2021, and each opposing party shall respond, in writing on
   or before December 24, 2021.

2. The parties shall file all motions to amend or supplement pleadings or to join additional
   parties by January 7, 2022.

3. All parties asserting claims for relief shall file their designation of testifying experts and shall
   serve on all parties, but not file, the materials required by Federal Rule of Civil Procedure 26
   by February 22, 2022. Parties resisting claims for relief shall file their designation of
   testifying experts and shall serve on all parties, but not file, the materials required by Federal
   Rule of Civil Procedure 26 by March 18, 2022. All designations of rebuttal experts shall be
   designated within 15 days of receipt of the report of the opposing expert.

4. An objection to the reliability of an expert’s proposed testimony under Federal Rule of
   Evidence 702 shall be made by motion, specifically stating the basis for the objection and


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   identifying the objectionable testimony, within 30 days of receipt of the written report of the
   expert’s proposed testimony, or within 30 days if the expert’s deposition, if a deposition is
   taken, whichever is later.

5. The parties shall complete all discovery on or before April 8, 2022. Counsel may by
   agreement continue discovery beyond the deadline, but there will be no intervention by the
   Court except in exceptional circumstances, and no trial setting will be vacated because of
   information obtained in post-deadline discovery.

6. The parties must mediate this case on or before April 8, 2022, and file a report in accordance
   with Local Rule 88 after the mediation is completed.

7. All dispositive motions shall be filed no later than May 27, 2022. Dispositive motions and
   responses to dispositive motions shall be limited to 20 pages in length in accordance with
   Local Rule CV-7. Replies, if any, shall be limited to 10 pages in length.

8. The trial date will be determined at a later date by the Court. The parties shall consult Local
   Rule CV-16 regarding matters to be filed in advance of trial. At the time the trial date is set,
   the Court will also set the deadline for filing matters in advance of trial.

9. If at any time during the pendency of this lawsuit, you would like to consent to the trial of
   your case by a United States Magistrate Judge, please indicate your consent on the attached
   form or request a form through the Clerk’s Office. If all parties consent to trial of this case
   by a United States Magistrate Judge, this Court may enter an order referring the case to a
   United States Magistrate Judge for trial and entry of judgment.

       IT IS SO ORDERED.

SIGNED this 12th day of November, 2021.




                                      ELIZABETH S. ("BETSY") CHESTNEY
                                      UNITED STATES MAGISTRATE JUDGE




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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
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CYNTHIA M. LOPEZ,                                §
             Plaintiff,                          §
                                                 §
vs.                                              §      Case No. SA-21-CV-00744-FB
                                                 §
CRESCENT BANK AND TRUST,                         §
EQUIFAX INFORMATION SERVICES,                    §
LLC,
           Defendants.


                      CONSENT TO PROCEED TO TRIAL BEFORE
                       A UNITED STATES MAGISTRATE JUDGE

       In accordance with the provisions of 28 U.S.C. § 636(c), the parties to the above

captioned civil matter hereby waive their rights to proceed before a judge of the United States

District Court and consent to have a United States Magistrate Judge conduct any and all further

proceedings in the case, including the trial, and order the entry of judgment. Any appeal shall be

taken to the United States Court of Appeals for this judicial circuit, in accordance with 28 U.S.C.

§636(c)(3).

____________________________                         By: ________________________________
Party                                                    Attorney
____________________________                         By: ________________________________
Party                                                    Attorney
____________________________                         By: ________________________________
Party                                                    Attorney


APPROVED this the ______ day of _________________, 2021.



                                             _________________________________________
                                             FRED BIERY
                                             UNITED STATES DISTRICT JUDGE



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